      Case 2:19-cv-00057-DPM Document 27 Filed 09/25/20 Page 1 of 1



            IN THE UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF ARKANSAS
                      DELTA DIVISION

GEORGE MILLER                                                PLAINTIFF


v.                       No. 2:19-cv-57-DPM

DERRICK TIMES and SCOTTIE
WHITCOMB, Both Individually And In
Their Official Capacities As Police
Officers For The City Of Clarendon                       DEFENDANTS

                             JUDGMENT
     Miller's complaint is dismissed without prejudice.




                                 D .P. Marshall (r.
                                 United States District Judge
